         Case 2:08-cr-00042-MJP          Document 333      Filed 05/03/11      Page 1 of 3



 1

 2

 3

 4

 5

 6

 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9
     UNITED STATES OF AMERICA,
10
                           Plaintiff,
11                                                              CASE NO. CR08-42MJP
            v.
12                                                              PROPOSED FINDINGS OF FACT
     ANDRE FULLER,                                              AND DETERMINATION AS TO
13                                                              ALLEGED VIOLATIONS OF
                           Defendant.                           SUPERVISED RELEASE
14

15
                                              INTRODUCTION
16
            I conducted a hearing on alleged violations of supervised release in this case on May 2, 2011.
17
     The United States was represented by Norm Barbosa, and defendant was represented by Michael
18
     Nance. The proceedings were tape-recorded.
19

20
                                        CONVICTION AND SENTENCE
21
            Defendant was sentenced on or about September 5, 2008 on charges of conspiracy to commit
22
     bank fraud, and aiding and abetting. The Hon. Marsha J. Pechman of this court sentenced defendant
23
     to 18 months of imprisonment, followed by three years of supervised release.
24

25

26   PROPOSED FINDINGS - 1
         Case 2:08-cr-00042-MJP          Document 333        Filed 05/03/11      Page 2 of 3



 1          Defendant served his term of imprisonment, and began his term of supervised release on

 2   February 24, 2010.

 3                     ALLEGED VIOLATIONS AND DEFENDANT'S ADMISSIONS

 4          In an application filed April 21, 2011, USPO Jennifer Van Flandern alleged that defendant

 5   violated the conditions of supervised release in four respects:

 6          (1)     Associating with James Kennedy, a convicted felon, on or about March 13, 2011;

 7          (2)     Committing the crime of drug distribution on or about March 13, 2011;

 8          (3)     Failing to notify the probation officer within 72 hours after his contact with law

 9                  enforcement officers, on or about March 16, 2011; and

10          (4)     Failing to submit a truthful and complete written report to the probation officer by

11                  April 5, 2011.

12          I advised defendant as to these charges and as to his constitutional rights. He admitted each

13   of the charges listed above, although as to charge #2 he admitted only that he attempted to participate

14   in a drug distribution offense. Defendant was to buy drugs for $4,800. The distribution was never

15   completed because a third party (James Kennedy) intervened and attempted to commit a robbery, in

16   the course of which James Kennedy shot and chased the other participant in the attempted drug

17   distribution. Defendant waived any hearing as to whether any of the four alleged violations occurred,

18   and consented to having the matter set for a disposition hearing before Judge Pechman.

19

20                          RECOMMENDED FINDINGS AND CONCLUSIONS

21          Based upon the foregoing, I recommend the court find that defendant has violated the

22   conditions of his supervised release in the four respects alleged, and conduct a disposition hearing.

23   That hearing has been scheduled for May 19, 2011 at 4:00 p.m.

24

25

26   PROPOSED FINDINGS - 2
           Case 2:08-cr-00042-MJP       Document 333       Filed 05/03/11     Page 3 of 3



 1           Defendant has been detained pending a final determination by the court.




                                                         A
 2           DATED this 3rd day of May, 2011.

 3

 4                                                       John L. Weinberg
                                                         United States Magistrate Judge
 5

 6

 7
     cc:     Sentencing Judge             :      Hon. Marsha J. Pechman
 8           Assistant U.S. Attorney      :      Norm Barbosa
             Defense Attorney             :      Michael Nance
 9           U. S. Probation Officer      :      Jennifer Van Flandern

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26   PROPOSED FINDINGS - 3
